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9                                    UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                          (Oakland Division)
11

12   JANICE ALTMAN, et al.,                                        No. 20CV02180JST
13                    Plaintiffs,                                  DEFENDANTS’ REQUEST FOR JUDICIAL
                                                                   NOTICE IN SUPPORT OF DEFENDANTS’
14   v.                                                            JOINT OPPOSITION TO PLAINTIFFS’
                                                                   SUPPLEMENTAL BRIEF
15   COUNTY OF SANTA CLARA, et al.,
16                    Defendants.
17

18             Pursuant to Federal Rule of Civil Procedure 201, the County of Santa Clara requests that the
19   Court take judicial notice of Exhibits A-C of the concurrently filed Supplemental Declaration of
20   Jason M. Bussey.
21   Dated: May 27, 2020                                        Respectfully submitted,
22                                                              JAMES R. WILLIAMS
                                                                COUNTY COUNSEL
23

24                                                         By: /S/ Jason M. Bussey
                                                               JASON M. BUSSEY
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                                                               Deputy County Counsel
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                                                                SMITH, JEFFREY ROSEN, and SARA CODY
     2217902
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                                                               1
     Defendants’ Request for Judicial Notice in support of Defendants’                         20CV02180JST
     Joint Opposition to Plaintiffs’ Supplemental Brief
